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                                       Wednesday, 23 December, 2020 06:51:24 PM
                                                     Clerk, U.S. District Court, ILCD




         EXHIBIT M
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PROMATECT®-H
Fire protective construction board




www.promat-see.com
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                                       PROMATECT®-H
                                       Fire protective construction board
                                       Technical data sheet



                                                                                      Product description
                                                                                      Silicate based fire protective construction board with cement
                                                                                      binder, resistant to moisture, of stable dimensions, large format
                                                                                      and self-supporting. It is produced with quality assurance
                                                                                      according to the standard ISO 9001.

                                                                                      Fields of application
                                                                                      Execution of construction elements for construction and
                                                                                      technical fire protection according to EN standard in all the
                                                                                      fields of building construction and industrial construction,
                                                                                      e.g. in steel structures, fire resistant partitions, fire dampers,
                                                                                      wall structures, facade elements. PROMATECT®-H has the
                                                                                      following intended uses (according to EAD 350142-00-1106):
                                                                                      internal use (type Z2), internal use in high humidity conditions
                                                                                      (type Z1) and external semi-exposed use (type Y).

Technical data                                                                        Properties

Nominal dry density (average)             approx. 870 kg/m      3
                                                                                      Construction material class              A1, EN 13501-1

Moisture content                          approx. 5 – 10 % (air dried)                                                         one side smooth, one side mildly
                                                                                      Surface properties
Alkalinity (pH-value)                     approx. 12                                                                           coarse

Thermal conductivity λ                    approx. 0,175 W/m.K                         Storage                                  store in a dry location
                                                                                                                               remains can be disposed off on
Coefficient of resistance to water
                                   approx. 20,0                                       Disposal                                 waste tips for class I construction
vapor diffusion µ
                                                                                                                               waste (EWC code 17 01 07)


Static values

                                     Bending strength σbreak                         Tensile strength Zbreak                      Compressive strength ┴

(deflection f ≤ l/250,           7,6 N/mm2 (in the longitudinal                  4,8 N/mm2 (in the longitudinal             9,3 N/mm2 (perpendicularly to the
safety factor n ≥ 3)                 direction of the board)                         direction of the board)                        board surface)


Pullout resistances

                                                                             Pullout resistances of screws (Zbreak)

                                 Screw for fast        Screw for fast                   Screw for fast              Screw for fast
                                                                                                                                                 Screwing nut
Type of screws                construction 3,9 x 55 construction 4,2 x 45               construction                construction
                                                                                                                                             (type B 3815) RAMPA
                             (G 233/355) Knipping (Hi-Lo-thread) Knipping             ABC-Spax 4,5 x 40           ABC-Spax 4,5 x 50

Layout                       in the board surface        in the board surface         in the board surface        in the board surface        in the board surface

Depth of screwing
                                     15 mm                          15 mm                    15 mm                       15 mm                       15 mm
screws

Pullout resistance
                                      624 N                         550 N                     584 N                       581 N                       350 N
Zbreak


Formats and weights

                                                                                 Board thickness and weight

                         2500 mm x 1250 mm               6 mm               8 mm
Standard formats                                                                         10 mm            12 mm           15 mm            20 mm           25 mm
                         3000 mm x 1250 mm*                 -                -

Dimensional                     thickness                                        ±0,5 mm                                          ±1,0 mm                 ±1,5 mm
tolerance                   length and width                                                            ±3,0 mm

Board weight                   in dry state           approx. 5,3      approx. 7,0     approx. 8,7     approx. 10,5 approx. 13,1 approx. 17,4 approx. 21,8
[kg/m2]                  +20 °C, 65 % rel. hum.       approx. 5,6      approx. 7,4     approx. 9,2     approx. 11,1 approx. 13,9 approx. 18,5 approx. 23,1
* on request


All physical and mechanical values are averages based on standard production and tested according to internal procedures. The typical values are given for guidance. The
figures can change dependent on the test methods used. If a particular value is of prime importance for a specification, please consult Promat Technical Department.
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